






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00238-CR







Douglas Howard Doores, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF COMAL COUNTY, 207TH JUDICIAL DISTRICT


NO. CR99-255, HONORABLE JACK H. ROBISON, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Douglas Howard Doores seeks to appeal the district court's order denying his motion
for entry of a judgment nunc pro tunc.  It appears that Doores is seeking additional jail time credit.

An appeal does not lie from an order denying a request for judgment nunc pro tunc
to correct the award of jail time credit.  Sanchez v. State, 112 S.W.3d 311, 312 (Tex.&nbsp;App.--Corpus
Christi 2003, no pet.); Everett v. State, 82 S.W.3d 735 (Tex. App.--Waco 2002, pet. ref'd).  The
appropriate procedure for a person seeking additional jail time credit is to present the issue to the
trial court in a motion for nunc pro tunc judgment and if the motion is unsuccessful, to seek relief
by a petition for writ of mandamus.  Ex parte Ybarra, 149 S.W.3d 147, 148-49 (Tex.&nbsp;Crim.
App.&nbsp;2004).


The appeal is dismissed.


				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   July 9, 2007

Do Not Publish


